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                                UNITED STATES DISTRICT COURT
21                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
22
23   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
     themselves and all others similarly situated,
24         Plaintiffs,                               STIPULATION AND [PROPOSED]
                                                     ORDER AUTHORIZING RELEASE OF
25                                                   MARCH 17, 2022 HEARING
            v.
26                                                   TRANSCRIPT
     GOOGLE LLC,
27       Defendant.                                  Hon. Susan van Keulen, USMJ

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                                                                   Case No. 4:20-cv-5146-YGR-SVK
                                    STIPULATION AND [PROPOSED] ORDER AUTHORIZING RELEASE OF
                                                           MARCH 17, 2022 HEARING TRANSCRIPT
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 1          WHEREAS, on March 14, 2022, Plaintiffs and Google filed their Joint Submission in
 2 Response to Dkt. 523 re: Discovery Disputes (Dkt. 560);
 3          WHEREAS, on March 16, 2022, Google filed its Administrative Motion to Seal the
 4 Courtroom for March 17, 2022 Discovery Hearing in Brown v. Google, Case No. 4:20-cv-3664
 5 (Brown Dkt. 490);
 6          WHEREAS, on March 16, 2022, the Court granted Google’s Administrative Motion to Seal
 7 the Courtroom for March 17, 2022 in the Brown matter (Brown Dkt. 491) and ordered the concurrent
 8 Discovery Hearing in this matter to be sealed as well (Dkt. 569);
 9          WHEREAS, the Court’s website states that “[a] transcript [for under-seal proceedings]
10 cannot be generated without an order from the assigned judge” 1;
11          WHEREAS, the parties agree that the transcript, which contains material designated by
12 Google as “Confidential” or “Highly Confidential – Attorneys’ Eyes Only,” may be released to
13 counsel of record in this matter, who are authorized to view this material under the First Modified
14 Stipulated Protective Order Governing Exchange of Confidential Discovery Material as Modified
15 by the Court (Dkt. 61);
16          NOW THEREFORE, IT IS HEREBY AGREED AND STIPULATED, subject to the
17 Court’s approval, that the complete transcript of the March 17, 2022 hearing may be released to
18 counsel of record in this matter.
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        1   https://www.cand.uscourts.gov/about/clerks-office/transcripts-court-reporters/
                                                     1                    Case No. 4:20-cv-5146-YGR-SVK
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 1 DATED: March 17, 2022
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     Case 4:20-cv-05146-YGR Document 577 Filed 03/17/22 Page 5 of 6




 1 PURSUANT TO STIPULATION, IT IS SO ORDERED.
 2
 3 Date:   March 17     , 2022
                                             Hon. Susan van Keulen
 4                                           United States Magistrate Judge
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       Case 4:20-cv-05146-YGR Document 577 Filed 03/17/22 Page 6 of 6




 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2          I, Andrew H. Schapiro, attest that concurrence in the filing of this document has been
 3 obtained from the other signatories. I declare under penalty of perjury that the foregoing is true
 4 and correct.
 5                                                /s/ Andrew H. Schapiro
                                                     Andrew H. Schapiro
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